                                                                   https://www.ktoo.org/2018/12/13/last-month-ruth-…
Last month, Ruth Botstein argued Alaska's case at the Supreme
Court. This month she was fired.

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December 13, 2018 by Nat Herz, Alaska's Energy Desk - Anchorage

The administration of newly-elected Republican Gov. Mike Dunleavy has taken the unusual step
of firing two prominent attorneys at the Alaska Department of Law, including one who
represented the state before the U.S. Supreme Court last month.


It’s typical for incoming governors to clean house at the highest levels of state agencies. But it’s
rare for a new administration to dismiss attorneys at the state law department, even though
those attorneys lack union protections – and the move has raised questions about the motivation
for the firings that remain unanswered.


“I don’t recall any administration reaching into the ranks since Wally Hickel came in in 1991,”
said Democrat Bruce Botelho, the transition coordinator for the previous governor and a former
attorney general under Hickel and Tony Knowles. Botelho said he thinks the firings are
“troubling.”


                                                  One of the fired lawyers is Libby Bakalar, a state
                                                  elections attorney who, in a since-deleted tweet,
                                                  attributed her dismissal to her liberal advocacy and
                                                  her criticism of President Donald Trump. Bakalar
                                                  publishes a personal blog, One Hot Mess, that she
                                                  uses to skewer the president and other right-wing
                                                  political figures, and she’s spoken at rallies and
                                                  traveled to Washington, D.C. this year to oppose the
Libby Bakalar (Photo by Jeremy Hsieh/KTOO)        Supreme Court nomination of Brett Kavanaugh.

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“It’s painful to be forced to ‘resign’ from a job for no apparent reason other than I dislike Trump
and care about social justice, and frequently say so on my own time, just like [the First
Amendment] allows,” she wrote.


The other fired attorney is Ruth Botstein, who argued for the state in the U.S. Supreme Court last
month in a lawsuit originally brought by John Sturgeon.


Sturgeon is a moose hunter, timber harvester and hunting advocate who’s challenging the federal
government’s authority to manage navigable waterways in national preserves. And his case has
become a celebrated cause for conservative Alaska politicians, including Dunleavy.


The state has supported Sturgeon’s lawsuit, and Botstein’s appearance in the Supreme Court last
month was to argue on Sturgeon’s behalf.


A month later, Botstein was fired. The move baffled people in Alaska’s legal world, and Sturgeon
said he’s confused, too.


“Ruth did a fantastic job,” Sturgeon said in a phone interview this
week from a logging camp on Afognak Island, near Kodiak. “I was
extremely surprised that they didn’t keep her, and I’m not sure the
reason.”


The three-sentence email notifying Botstein of her firing, from
then-Acting Attorney General Ed Sniffen, didn’t specify why she
was dismissed. It was sent at 12:20 p.m. December 3, less than an
hour after Dunleavy was sworn in and two days before he named          Ruth Botstein (Photo courtesy Alaska
Kevin Clarkson as his attorney general.                                Judicial Council)


Officials at the governor’s office and Department of Law refused to answer questions about the
firings, saying they were confidential “personnel matters.”


Botstein and Bakalar declined to comment.


The two attorneys were part of a broader group of state workers dismissed when Dunleavy
succeeded Bill Walker, an independent.


It’s standard for incoming administrations to request resignations from agency heads, top
deputies and other policymaking staff in politically appointed jobs. Bill Walker has said that in
2014 he asked for resignations from about 250 of the state’s 15,000 workers, and retained
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“many” of them.


Dunleavy asked about 800 people to offer their resignations, including many in positions that
are technically appointed but traditionally seen as non-political, like petroleum geologists,
psychiatrists, actuaries and low-level prosecutors. Employees who wanted to keep their jobs were
instructed to make their resignations contingent on acceptance by the new administration.


Tuckerman Babcock, Dunleavy’s chief of staff, said at the time that the new administration was
not planning widespread layoffs. Instead, he said, Dunleavy wanted to make sure state
employees were committed to his agenda. Some state workers, however, saw the request as an
effort to extract a partisan loyalty pledge – particularly given that Babcock’s previous position
was chair of the Alaska Republican Party.


“The state of Alaska hired me for my expertise, not my political allegiance,” Anthony Blanford,
the director of psychiatry at the Alaska Psychiatric Institute, wrote in a letter to the Anchorage
Daily News.


                                           Anecdotal accounts have emerged like the firings of the
                                           two attorneys, as well as Blanford and another psychiatrist
                                           at the Alaska Psychiatric Institute who refused to offer a
                                           resignation. But Dunleavy officials have declined to specify
                                           the total number of state workers dismissed.


                                           A spokesman for Dunleavy, Jeff Turner, said Thursday that
Tuckerman Babcock (Photo by Josh Walton)   a reporter would have to file a public records request to
                                           find out.


Bakalar, who’s not registered with a political party, had become a target of Alaska conservatives
amid her involvement in contentious, election-related cases — though her recent legal work
required her to take positions that clashed with both liberal and conservative candidates and
causes.


Bakalar, who earned $120,000 a year, assisted with the state’s defense of election workers’
conduct in a disputed 2016 state House race in northern Alaska. And she also drafted the Walker
administration’s legal justification for initially rejecting, on constitutional grounds, a proposed
initiative to protect salmon habitat.


Her work drew praise from supervisors, including one who wrote in a performance evaluation
that Bakalar did a “splendid” job on elections issues, according to a copy of Bakalar’s personnel
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file that she released to a reporter.


Since Trump’s election, Bakalar has appeared at rallies in Juneau for liberal causes, and she’s
referred to Trump on her blog as “gaslighting misogynist trash,” a “bona fide sociopath” and a
“pathological liar.”


Palmer attorney Nancy Driscoll Stroup has been criticizing Bakalar’s blog for two years, and
Stroup said she filled out a form on Dunleavy’s website suggesting that his transition team
“carefully vet” attorneys in three specific sections of the Department of Law that handle
politically sensitive cases — including the sections where Botstein and Bakalar worked.


Stroup said she thought some of the attorneys in those three sections were “very, very liberal”
and might not be on board with Dunleavy’s conservative agenda. And she said she thinks
attorneys who work on politically sensitive cases while engaging in public political activism
create a “lack of trust.”


“I would feel the same way if they were partisan in the other direction, too,” she said. “Go into
private practice if you want to do that.”


Stroup said no one from the Dunleavy administration contacted her about her note. She also said
she did not complain about Botstein specifically.


The firing of Botstein, who’s also not registered with a political party, has been more perplexing
to observers. Her peers gave her good marks when she applied for a recent seat on the Alaska
Supreme Court; her overall rating of 3.8 on a survey of attorneys who’d worked with her was a
full point higher than the rating for Clarkson, Dunleavy’s attorney general.


Botstein, who earned $130,000 a year, posted a
barrage of anti-Trump tweets the month Trump was
inaugurated. But she has only used her Twitter
account once in the past year and has just 15
followers.


One theory is that her work on politically delicate
Sturgeon case somehow made her a target of the
                                                              John Sturgeon speaks at the Alaska Capitol in 2016.
Alaska Outdoor Council. That’s the powerful hunting           (Photo by Skip Gray/360 North)
and fishing advocacy group that’s supported
Sturgeon’s lawsuit along with the state, but clashed
with the Walker administration on the best way to defuse broader conflicts over state and federal
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land management.


But Sturgeon, a vice president of the council, said that theory is wrong.


“I called everybody else to ask if anybody had put in a bad word on her. And nobody in Alaska
Outdoor Council did anything,” he said. “So that wasn’t the reason.”




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